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                      EXHIBIT F
                                 Corrected
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                                                       EXHIBIT F
                                                         TABLE 1


                       2021           Additional 2%     Total Number of      Avg. Need-      Est. Avg.       Additional
                    Unrestricted       Unrestricted          Aided          Based Grant    Net Price for     Money Per
                    Endowment          Endowment        Undergraduates      Per Student       Aided         Aided Student
                                        Spending           2020-2021         2020-2021       Students         Per Year
                                                                                            2020-20211

Brown               $960,328,000       $19,206,560            2,941           $53,276         $27,172           $6,531
CalTech             $848,658,000       $16,973,160            459             $49,806         $28,611          $36,979
Columbia*          $4,449,457,000      $88,989,140            4,953           $55,773         $24,566          $17,967
Cornell            $1,726,967,000      $34,539,340            7,093           $46,817         $31,135           $4,869

Dartmouth          $1,912,300,000      $38,246,000            2,159           $49,912         $29,613          $17,715
Duke               $3,790,836,000      $75,816,720            2,732           $53,409         $25,008          $27,751
Emory              $2,357,212,000      $47,144,240            3,307           $44,450         $33,967          $14,256
Georgetown          $612,360,000       $12,247,200            2,726           $37,485         $40,932           $4,493
JHU*               $1,326,013,000      $26,520,260            3,338           $48,179         $30,238           $7,945
MIT                $8,028,079,000      $160,561,580           2,753           $53,078         $25,339          $58,322
Northwestern       $5,562,129,000      $111,242,580           3,746           $52,620         $25,797          $29,696
Rice               $3,470,760,000      $69,415,200            1,805           $49,344         $29,073          $38,457
Chicago*           $2,709,296,000      $54,185,920            2,653           $55,489         $22,928          $20,424
Notre Dame         $7,345,695,000      $146,913,900           4,243           $45,565         $32,852          $34,625
Penn               $10,337,266,000     $206,745,320           4,392           $54,253         $25,382          $47,073


           1
             The Estimated Average Net Price for Aided Students was calculated by subtracting the average need-
           based grant award from the estimated cost of attendance (“COA”) for 2020-2021. For Ivy League schools,
           the precise COA was used. For all others, an imputed COA of $78,417 (the average COA for all Ivy League
           schools) was used. See Christy Rakoczy, How Much Does an Ivy League Education Cost, THE BALANCE
           (Updated Apr. 5, 2022), https://www.thebalance.com/can-you-afford-an-ivy-league-education-for-your-
           child-795012.
           * Because these schools do not participate in the Common Data Set initiative, Plaintiffs calculated the
           approximate number of aided undergraduates for JHU, Chicago, and Vanderbilt using data from the latest
           U.S. News and World Report rankings, which draws from 2019 data submitted to the National Center for
           Education Statistics. Columbia’s number of aided students was estimated from data published on
           Columbia’s website.
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Vanderbilt*       $6,569,806,000   $131,396,120         3,247          $53,944        $24,473         $40,467
Yale              $7,048,097,000   $140,961,940         3,204          $59,150        $18,600         $43,996


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